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 5

 6   Attorneys for Plaintiff
     United States of America
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 9
                                UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

11
      UNITED STATES OF AMERICA,                        No. 1:16-CR-00176 DAD
12
                                    Plaintiff,
13

14                           v.                     STIPULATION TO EXTEND GOVERNMENT’S
                                                    RESPONSE DUE DATE
      DEJOHN WILEY, AND
15    CHRIS WILEY,
16                                  Defendants.
17

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19          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States

20   Attorney and Kimberly A. Sanchez, Assistant U.S. Attorney and Mark Broughton, counsel for

21   Dejohn Wiley, and Scott Quinlan, counsel for Chris Wiley, that the Government’s response to the

22   defendants’ sentencing memoranda and objections to the presentence report currently due today,

23   April 8, 2019, is extended to be due on April 10, 2019. There is no request to continue the

24   sentencing set for, April 15, 2019, at 10:00 am before the Honorable Dale A. Drozd, U.S. District

25   Court Judge. The reason for the request is that counsel for the Government has been caring for

26                              [Remainder of page intentionally left blank.]
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     Case 1:16-cr-00176-DAD-BAM Document 217 Filed 04/09/19 Page 2 of 2


 1   her sick 4 year old child since last Thursday, among other work responsibilities, including a brief

 2   for the Ninth Circuit.

 3

 4

 5
     Dated: April 8, 2019                                  Respectfully submitted,
 6
                                                           McGREGOR W. SCOTT
 7                                                         United States Attorney
 8                                                By       /s/ Kimberly A. Sanchez
                                                           KIMBERLY A. SANCHEZ
 9                                                         Assistant U.S. Attorney
10   Dated: April 8, 2019                         MARK BROUGHTON
                                                      Attorney for Defendant D. Wiley
11
     Dated: April 8, 2019                                  /s/ W. Scott Quinlan
12                                                         W. SCOTT QUINLAN
                                                           Attorney for Defendant C. Wiley
13

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     IT IS SO ORDERED.
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16      Dated:     April 8, 2019
                                                       UNITED STATES DISTRICT JUDGE
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